Case 1:21-cv-02170-ACR Document93-3 ~~ Filed 05/26/25

Exhibit 1

Page 1 of 18

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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

ERIN SMITH *
c/o Goodwin Weber PLLC
267 Kentlands Blvd #250
Gaithersburg, MD 20878 *
& *
ERIN SMITH, PERSONAL =
REPRESENTATIVE OF THE ESTATE OF JEFFREY SMITH
c/o Goodwin Weber PLLC
267 Kentlands Blvd #250
Gaithersburg, MD 20878
Plaintiff *
Vv. * Case No. 1:21-CV-2170
DR. DAVID KAUFMAN *
411 East Capitol St., SE
Washington, DC 20003 *
& *
TAYLOR F. TARANTO *

1311 N Beech Ave, Pasco, WA, 99301

Defendant(s)
FIRST AMENDED COMPLAINT

COME NOW the Plaintiffs, Erin Smith (individually, as surviving spouse of Jeffrey Smith);

and Erin Smith, Personal Representative of the Estate of Jeffrey Smith; by and through GOODWIN

WEBER PLLC, and undersigned counsel David P. Weber, CFE, and Brian Mahany, and file this

Complaint against David Kaufman and Taylor Taranto. As grounds therefore, Plaintiffs state as

follows:

I Plaintiff Erin Smith is a resident of the Commonwealth of Virginia residing in

! Plaintiff is the widow of a Washington, DC Police Officer who died as a proximate cause of the

Capitol Insurrection. Her address is not provided for her personal safety.

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Fairfax County.

2. Plaintiff Erin Smith was appointed as the Personal Representative of Jeffrey Smith
in the Circuit Court of Fairfax County (Case Number 2021-0000214).

3. Defendant Dr. David Kaufman is a resident of the District of Columbia.

4. Defendant Taylor F. Taranto is a veteran of the U.S. Navy. He is a resident of the
State of Washington.

5. Jurisdiction is founded on 28 USC §1332, as there is complete diversity between all
parties.

6. Venue is proper in this Court as this lawsuit pertains to a cause of action that arose in
Washington, DC.

7. On or about January 6, 2021, Jeffrey L. Smith was employed as a Police Officer by
the Metropolitan Police Department. Due to the circumstances surrounding the planned Trump
election event, MPD assigned Officer Smith to the Civil Disturbance Unit. Specifically, Officer
Smith was part of the larger contingent of MPD and other federal law enforcement that was tasked
with responding to the Capitol Insurrection.

8. On January 6, 2021 at around 5:00 pm., Officer Smith was working in the United
States Capitol building. Officer Smith together with fellow MPD officers re-took the Capitol from
the insurrectionists, pushing the insurrectionists out of the US Capitol.

9, At that time and place, Kaufman was part of the insurrectionist mob inside the US
Capitol and was being escorted out of the building by MPD officers. Co-Defendant Taranto handed
a cane or crowbar (or similar object) to Kaufman. Kaufman, in turn, violently swung the cane and
struck Officer Smith in the face/head. Officer Smith was in a particularly vulnerable situation

because his face shield was up (leaving his face and eyes exposed). It appears that Kaufman and

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Taranto specifically and maliciously targeted Officer Smith because his visor was in the upright
position, making him more vulnerable to this brutal and vicious attack.

10. Open-source intelligence materials found at https://seditionhunters.org/insider-1107/

appear to depict Defendant Taranto throughout the Capitol Insurrection engaged in other unlawful
acts. In addition, and upon information and belief, said website appears to show Defendant Taranto
with the weapon used to assault Officer Smith. Upon information and belief, the weapon appears to
be the Ka-Bar TDI “self-defense” cane. This weapon can be seen at the website

https://www.kabar.com/products/product.jsp?item=9406#designerSection.

11. | Open-source intelligence materials found on the internet depict the attack of Officer
Smith, as well as Defendants Kaufman and Taranto.

12. Defendant Kaufman was wearing a padded motorcycle jacket of maroon and white
color. He is depicted in the U.S. Capitol attacking Officer Smith. Defendant Kaufman is depicted
in an internet interview wearing the same jacket at a different time. These screen grabs of photos
are attached hereto as Exhibit A.

13. Defendant Taranto was wearing a specific article of clothing, a Make Space Great
Again Hat. He is depicted in the U.S. Capitol attacking Officer Smith. Screen grab photos of
Defendant Taranto are attached as Exhibit B.

14. The entire attack of Officer Smith by Defendants is depicted on YouTube, and can

be viewed at the following link: https://www.youtube.com/watch?v=dgug72TZMDs

15. Atall times relevant hereto, Erin Smith was married to Jeffrey Smith.
16. Officer Smith died on January 15, 2021. The cause of death was severe depression
and brain injury proximately caused by the concussion Officer Smith received from the assault of

January 6, 2021 by Kaufman and Taranto. An estate has been opened in the Circuit Court for

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Fairfax County, FI-2021-0000214.

17. At the time of her death, Erin Smith was dependent on Officer Smith for support.

18. Erin Smith, as the surviving widow, is the primary beneficiary of the Estate of
Jeffrey Smith.

19. That Officer Smith would have been able to maintain a civil cause of action against
Kaufman and recover damages had he lived.

20. The actions of the Defendants in carrying out the assault were intentional wanton,
malicious, depraved, and were made with a black heart.

COUNT I

ASSAULT & BATTERY

21. All facts and allegations contained hereinabove are incorporated herein by reference.

22. The physical contact initiated by Kaufman constituted an intentional and unlawful,
harmful or offensive, touching or use of deadly force upon the physical person of Officer Smith.

23. As aresult of this intentional and unlawful battery, Officer Smith sustained physical
pain, injury and illness. Specifically, Officer Smith suffered severe and permanent injuries to his
head (concussion), and neck; he suffered great pain and mental anguish and mental distress; and he
was otherwise damaged.

24. Asa direct result of the unlawful assault and battery, Officer Smith came under the
care of medical doctors; he lost time from his normal duties, employment and activities, all to his
financial detriment.

25. As adirect result of the unlawful assault by the Defendants, Officer Smith died on
January 15, 2021.

26. In accordance with DC Code §12-101, et. seq, Erin Smith (as personal representative

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of Officer Smith’s estate) is entitled to bring this action.

WHEREFORE, plaintiff Erin Smith, Personal Representative of the Estate of Jeffrey Smith,
brings this action and demands judgment against Defendants David Kaufman and Taylor Taranto in
the sum of Two Million ($2,000,000.00) Dollars, plus punitive damages in the amount of Five
Million ($5,000,000.00) Dollars, plus costs and interest.

COUNT I
WRONGFUL DEATH

27. That all facts and allegations contained hereinabove without being fully repeated
herein.

28. This claim is being brought by Erin Smith as the surviving widow of Jeffrey Smith.

29. Asa direct and proximate result of the intentional assault by Defendants that, in turn,
caused Officer Smith’s death, Erin Smith sustained pecuniary loss, mental anguish, emotional pain
and suffering, loss of society, loss of companionship, loss of comfort of protection, loss of marital
care, loss of filial care, loss of attention, loss of advice, loss of counsel, loss of training, loss of
guidance and loss of consortium.

30. Pursuant to the Declaration of Jonathan Arden, MD, the former Chief Medical
Examiner of the District of Columbia, attached hereto as Exhibit C, the direct and proximate cause
of Officer Smith’s death is post-concussive syndrome. The effects of post-concussive syndrome, in
turn, includes health maladies such as severe depression and suicide. In other words, but for the
concussion of Officer Smith at the hands of these Defendants, Officer Smith would be alive today.
He was killed in the line of duty by the Defendants.

31. This Complaint is timely filed within two (2) years after the death of Jeffrey Smith.

32. In accordance with DC Code §16-2701, et. seq, Erm Smith (as personal

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representative of Officer Smith’s estate) is entitled to bring this action.

WHEREFORE, plaintiff Erin Smith, surviving widow of Jeffrey Smith, brings this action
and demands judgment against Defendants in the amount of Two Million ($2,000,000.00) Dollars
in compensatory damages, plus punitive damages in the amount of Five Million ($5,000,000.00)
Dollars, plus costs and interest.

COUNT Ul
AIDING AND ABETTING

33. That all facts and allegations contained hereinabove without being fully repeated
herein.

34. Defendant Taylor Taranto was part of the insurrectionist mob inside the US Capitol
and was being escorted out of the building by MPD officers.

35. Defendant Taranto handed a cane, crowbar (or similar object) to Defendant
Kaufman. Kaufman, in turn, violently swung the cane and struck Officer Smith in the face/head.
Officer Smith was in a particularly vulnerable situation because his face shield was up (leaving his
face and eyes exposed).

36. Defendant Taranto possessed actual knowledge of the wrongful intentions of
Kaufman. Indeed, there could be no other reason to supply Kaufman with a weapon other than to
use it as a cudgel against MPD Officers, like Officer Smith, as the police officers were escorting the
mob out of the Capitol building.

37. Defendant Taranto directly aided, abetted and encouraged Kaufman’s wrongful and
tortious conduct, and knowingly supplied substantial assistance, aid and encouragement in the
commission of such conduct.

38. Asa result of this intentional and unlawful battery, Officer Smith sustained physical

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pain, injury and illness. Specifically, Officer Smith suffered severe and permanent injuries to his
head (concussion), and neck; he suffered great pain and mental anguish and mental distress; and he
was otherwise damaged. Pursuant to the Declaration of Jonathan Arden, MD, the former Chief
Medical Examiner of the District of Columbia, attached hereto as Exhibit C, the direct and
proximate cause of Officer Smith’s death is post-concussive syndrome. The effects of post-
concussive syndrome, in turn, includes health maladies such as severe depression and suicide. In
other words, but for the concussion of Officer Smith at the hands of the Defendants, Officer Smith
would be alive today. He was killed in the line of duty by these Defendants.

39. Asa direct result of the unlawful assault and battery, Officer Smith came under the
care of medical doctors; he lost time from his normal duties, employment and activities, all to his
financial detriment.

40. As a direct result of the unlawful assault, Officer Smith died on January 15, 2021.

41. As a direct and proximate result of the intentional assault which was aided by
Defendant Taranto and which, in turn, caused Officer Smith’s death, Erin Smith sustained pecuniary
loss, mental anguish, emotional pain and suffering, loss of society, loss of companionship, loss of
comfort of protection, loss of marital care, loss of filial care, loss of attention, loss of advice, loss of
counsel, loss of training, loss of guidance and loss of consortium.

WHEREFORE, plaintiff Erin Smith, both individually as surviving widow of Jeffrey Smith,
and as Personal Representative, brings this action against Defendants and demands judgment in the
amount of Two Million ($2,000,000.00) Dollars in compensatory damages, plus punitive damages

in the amount of Five Million ($5,000,000.00) Dollars, plus costs and interest.
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/s/_ David P. Weber
DAVID P. WEBER, CFE, #468260
Brian Mahany, Of Counsel, pro hac vice to be filed

Counsel for Plaintiff

GOODWIN WEBER PLLC

267 Kentlands Blvd, Suite 250
Gaithersburg, MD 20878

(301) 850-7600

david. weber@goodwinweberlaw.com

DEMAND FOR JURY TRIAL

Plaintiff demands a jury trial on all issues raised herein.

__/s/_ David P.Weber
DAVID P. WEBER

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16 of 18

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Dr. David Walls-Kaufman, DC — An Interview at The Plaza

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